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   1    Stanley D. Saltzman, Esq. (SBN 90058)
   2    Joel M. Gordon, Esq. (SBN 280721)
        MARLIN & SALTZMAN, LLP
   3    29800 Agoura Road, Suite 210
   4    Agoura Hills, California 91301
        Telephone: (818) 991-8080
   5    Fax: (818) 991-8081
   6    ssaltzman@marlinsaltzman.com
        jgordon@marlinsaltzman.com
   7

   8   Attorneys for Plaintiff and the Putative Class

   9                             UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12                                                CASE NO. 2:22-cv-02453-ODW (RAOx)
     CLIVE LEWIS, individually and on
  13 behalf of all others similarly situated,

  14                                                PLAINTIFFS’ MEMORANDUM OF
                    Plaintiff,
                                                    POINTS AND AUTHORITIES IN
  15                                                OPPOSITION TO DEFENDANT
             v.
  16                                                ALBERTSONS COMPANIES, INC.’S
       ALBERTSONS COMPANIES, INC.;                  MOTION TO DISMISS
  17   and DOES 1 through 10 inclusive,
  18
                    Defendants.                     Date:        September 19, 2022
  19                                                Time:        1:30 p.m.
  20
                                                    Ctrm:        5D, 5th Floor
                                                    Judge:       Hon. Otis D. Wright II
  21

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                                                    Action Filed: April 12, 2022

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   1     I.      INTRODUCTION
   2          This is a case involving blatant nationwide false advertising brought against one
   3 of the country’s largest grocery chains due to its sale of “Signature Select” club soda

   4 boasting an impossible “0 mg” of sodium. On August 7, 2021, Plaintiff Clive Lewis

   5 (“Plaintiff”) notified Defendant Albertsons Companies, Inc. (“Albertsons” or

   6 “Defendant”) of the alleged violation. After waiting approximately two months to

   7 address the issue, the company eventually admitted that the packaging misrepresented

   8 the sodium content of the product, in violation of Food Drug and Cosmetics Act

   9 (“FDCA”), 21 C.F.R. 101.6, and claimed that the incorrect information was merely a

  10 “mistake” that would be corrected. Prior to notice from the Plaintiff, Albertsons had

  11 been selling the product for nearly a year, benefitting from the false representation and

  12 only admitting to the purported “mistake” under threat of a class action lawsuit.

  13          Plaintiff, on behalf of himself and a similarly situated class of nationwide
  14 consumers, alleges in his Complaint that Defendant engaged in a practice, either

  15 intentionally or as the result of conscious disregard, to deceive consumers into buying

  16 “no sodium” club soda that actually contained sodium, in violation of the FDCA. In

  17 its motion to dismiss, Defendant admits to a “mistake” and asks the Court to dismiss

  18 any claims with regard to fraud or punitive damages. But this request is premature at

  19 this point in the litigation process. At the pleadings stage, Plaintiff adequately alleges

  20 fraud, putting the word “mistake” in quotes to reflect Defendant’s explanation for the

  21 misconduct, not to plead that this deception was, in fact, a mistake. For nearly a year

  22 Defendant printed and distributed packaging in clear violation of the FDCA, putting

  23 at serious health risk the very consumers who would be likely to purchase a “no

  24 sodium” product, and did not recognize the mistake until the Plaintiff himself alerted

  25 the company to the fact in his CLRA notice letter. The allegations in the Complaint

  26 sufficiently describe this scheme to defraud, whether intentionally or through

  27 conscious disregard for the health and safety of Albertsons’ consumers, along with

  28 punitive damages that would stem from the failure of any managing agent to recognize

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   1   and put a halt to this practice.
   2            Aside from Defendant’s claims stemming from this misreading of “mistake” in
   3   the Complaint, Defendant also incorrectly asks the Court to dismiss for lack of
   4   standing the claims based on representations on the company’s web site despite the
   5 fact that Plaintiff relied on the same misrepresentations made there (“0mg Sodium”

   6 printed on the outer packaging”) as were made in-store. Furthermore, the request for

   7 injunctive relief should remain because Plaintiff has received no confirmation that this

   8 practice has ended aside from an informal statement by Albertsons counsel. At the

   9 pleadings stage, prior to any verified discovery, Plaintiff cannot simply take

  10 Albertsons’ word that they halted this deceptive practice.

  11            Therefore, Plaintiff requests that the Court deny the motion to dismiss in its
  12 entirety.

  13      II.      FACTUAL BACKGROUND
  14            On multiple occasions prior to June, 2021, Clive Lewis purchased a 12-pack of
  15 Defendant’s Signature Select Soda at the Pavilions grocery store in West Hills,

  16 California. Complaint ¶ 18. Plaintiff purchased the Product because the box in which

  17 it was packaged, the only part of the packaging visible to the consumer, said that the

  18 product contained 0 mg of sodium. Id. Plaintiff carefully limits his intake of sodium,

  19 in general, and specifically purchased the Product instead of other brands of club soda

  20 because he believed that the Product contained no sodium. Id.

  21            After purchasing the soda multiple times, Mr. Lewis only discovered the false
  22 claims after checking one of the individual cans (which are not visible through the

  23 packaging at the time of purchase.) Id. ¶ 19. According to the notation on the Product’s

  24 can, found inside the Outer Packaging, the amount of sodium contained by the Product

  25 is 40 mg. Id. ¶ 5. In addition to selling incorrectly labeled packages throughout

  26 California and the rest of the United States, Albertsons included a photograph of the

  27 box on its national web site, listing “0 mg” of sodium under the photograph. Id. ¶ 7.

  28            On August 7, 2021, Plaintiff mailed Defendant a notice of the deceptive acts and

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   1   practices underlying his CLRA claims, in accordance with Civil Code §§ 1782(a) and
   2   (d) to Albertsons’ corporate offices in Fullerton, in compliance with Cal. Civ. Code
   3   § 1782. In the letter, Plaintiff outlined the violations discussed above and demanded
   4   the following remedy from Albertsons: (1) Identify or make a reasonable attempt to
   5   identify members of the Class; (2) Calculate the amounts owed to each member of the
   6   Class; (3) Notify each member of the Class of the amount(s) due, and refund in cash
   7   to each member of the Class the amount(s) due plus interest at the statutory rate of
   8   10% per annum running from the date such amounts were paid; (4) Cease the false
   9   and deceptive advertising campaign for the Product; and (5) Pay all of the Plaintiff’s
  10   legal fees and costs incurred to date. Id. ¶ 21.
  11         Following two months of discussion, Albertsons’ outside counsel informed
  12   Plaintiff’s counsel that the incorrectly labeled box was no longer being shipped to
  13   stores and that the “mistake” had been corrected. Id. ¶ 22. Plaintiff received no other
  14   confirmation that the mistake had been corrected. Albertsons at no time offered any of
  15   the other remedies demanded in the notice letter. Id. ¶ 23. Sometime following the
  16   October 7 call, the false information was taken down from the nationwide Albertsons
  17   web site. However, no attempt was made to identify members of the class, to calculate
  18   the amounts owed to each member of the class, or to notify Class members of the
  19   amount due as a refund.
  20         An early mediation session was held on January 28, 2022, but no resolution was
  21   achieved. Id. ¶ 22. Plaintiff filed his lawsuit in this Court on April 12, 2022, alleging
  22   violations of the CLRA (California Civil Code § 1750, et seq.), FAL (Cal. Bus. & Prof.
  23   Code § 17500, et seq.), and UCL (Cal. Bus. & Prof. Code § 17200 et seq.) for conduct
  24   in California and throughout the rest of the United States.
  25      III.   LEGAL STANDARD
  26         To survive a motion to dismiss, a plaintiff need only allege facts that are enough
  27 to raise his or her right to relief “above the speculative level.” Bell Atl. Corp. v.

  28   Twombly, 550 U.S. 544, 555 (2007). In determining whether Plaintiff has stated

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   1   sufficient facts such that the claim is plausible, “[a]ll allegations of material facts are
   2   taken as true and construed in the light most favorable to the nonmoving party.” Smith
   3 v. Jackson, 84 F.3d 1213, 1217 (9th Cir. 1996). In addition, the court must “draw

   4 inferences in the light most favorable to the plaintiff.” Barker v. Riverside County

   5 Office of Educ., 584 F.3d 821, 824 (9th Cir. 2009); see also U.S. S.E.C. v. ICN Pharm.,

   6 Inc., 84 F. Supp. 2d 1097, 1098 (C.D. Cal. 2000) (“The court must accept as true the

   7 factual allegations of the complaint and indulge all reasonable inferences to be drawn

   8 from them, construing the complaint in the light most favorable to the Plaintiff.”)

   9 (citing Westlands Water Dist. v. Firebaugh Canal, 10 F.3d 667, 670 (9th Cir.1993);

  10 NL Industries, Inc. v. Kaplan, 792 F.2d 896, 898 (9th Cir.1986). Any existing

  11 ambiguities must be resolved in favor of the pleading. Walling v. Beverly Enters., 476

  12 F.2d 393, 396 (9th Cir. 1973). A court will not normally look beyond the four corners

  13 of the complaint in resolving a Rule 12(b)(6) motion. Lee v. City of Los Angeles, 250

  14 F.3d 668, 688 (9th Cir. 2001).

  15         In the Ninth Circuit, the Rule 12(b)(6) motion is viewed with disfavor and is
  16 rarely granted. McDougal v. County of Imperial, 942 F.2d 668, 676 n.7 (9th Cir. 1991)

  17 (quoting Hall v. City of Santa Barbara, 833 F.2d 1270, 1274 (9th Cir. 1986)). “For all

  18 of these reasons, it is only under extraordinary circumstances that dismissal is proper

  19 under Rule 12(b)(6).” Brown v. Defender Sec. Co., 2012 WL 5308964 *2 (C.D. Cal.

  20 Oct. 22, 2012) (citing United States v. City of Redwood City, 640 F.2d 963, 966 (9th

  21 Cir. 1981). As a general rule, leave to amend a complaint should be freely granted.

  22 Fed. R. Civ. P. 15(a).

  23      IV.    ARGUMENT
  24         A. Plaintiff Sufficiently Pleads Injunctive Relief
  25         Each of the allegations of “mistake” and corrective action cited by Defendant in
  26   its Motion are based on representations made informally, prior to filing the Complaint,
  27   by Defendant to Plaintiff. See Complaint ¶ 23. There has never been any confirmation
  28   that the mislabeled product was completely discontinued, or that it is not currently

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    1   being sold. In fact, Plaintiff only knows the identity of one state (California) where the
    2   mislabeled product was sold, even though Defendant has represented that the
    3 mislabeling occurred throughout the nation. Id. ¶ 20. Plaintiff is not prepared to take

    4 Defendant at its word that the conduct ceased completely in September 2021 and is no

    5 longer ongoing. While proof that Defendant has ceased its misconduct might be

    6 available through discovery, it is premature at the pleadings stage to dismiss a claim

    7   for injunctive relief. Therefore, Plaintiff still demands appropriate injunctive relief,
    8   including the correction of an erroneous impression consumers may have gotten about
    9   the Product’s sodium content, such as the placement of corrective advertising and
   10   written notice to the public. Id. ¶ 33.
   11         B. Plaintiff Has Sufficiently Pled Equitable Relief Claims
   12         Relying on the Ninth Circuit’s recent decision in Sonner v. Premier Nutrition
   13   Corp., 971 F.3d 834 (9th Cir. 2020), Defendant argues there is no basis for equitable
   14   relief under the CLRA, FAL, and UCL because Plaintiffs have not alleged a lack of
   15   adequate remedy at law. Motion, p. 8. In Sonner, where plaintiff dismissed her legal
   16   damages to assert restitution in the exact same amount in order to secure a bench trial,
   17   the facts are easily distinguishable from Plaintiff’s allegations here that he can only be
   18   made whole by both legal and equitable remedies. Sonner, 971 F.3d at 844. Moreover,
   19   the basis for Defendant’s claim is simply that the Complaint seeks to certify a class
   20   asking for monetary damages. See Motion, p. 8. This is not sufficient, even under
   21   Sonner. In a case that followed Sonner, a Northern District court pointed out, “The
   22   mere fact that the [Complaint] requests damages is not sufficient to show that
   23   restitution is foreclosed. Instead, the plaintiffs must adequately allege that, under usual
   24   principles of equity, their remedies at law would be inadequate to what restitution
   25   could provide.” Anderson v. Apple Inc., No. 3:20-CV-02328-WHO, 2020 WL
   26   6710101, at *8 (N.D. Cal. Nov. 16, 2020).
   27         Here, Plaintiff makes the necessary allegations that only equitable remedies
   28   could cure some of the harm committed by Defendant, which it has never confirmed

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    1   stopping, either in stores or on their website. Complaint ¶ 33. If the mislabeling has
    2   continued, the requested injunctive relief here would cure future harm in a way that
    3   would be impossible to achieve with the legal remedies requested for past harm.
    4   Likewise, the Complaint alleges the chance of future harm if the misconduct is
    5   ongoing. Id. ¶ 19. Plaintiff, even after becoming aware of Defendant’s false
    6   advertising, can still have standing to seek injunctive relief to enable the Court to
    7 enjoin Defendant’s false advertising under California's consumer protection laws. See

    8 Spann v. J.C. Penney Corp., 2015 WL 1526559, at *12 (C.D. Cal. Mar. 23, 2015);

    9 Koehler v. Litehouse, Inc., 2012 WL 6217635 (N.D. Cal. 2012) (“[t]o do otherwise

   10 would eviscerate the intent of the California legislature in creating consumer

   11   protection statutes because it would effectively bar any consumer who avoids the
   12   offending product from seeking injunctive relief.”).
   13         In Davidson v. Kimberly-Clark Corp., 873 F.3d 1103, 1115 (9th Cir. 2017), the
   14   court stated that “the threat of future harm may be the consumer's plausible allegations
   15   that she will be unable to rely on the product's advertising or labeling in the future, and
   16   so will not purchase the product although she would like to.” Id. (citing i.e., Ries v.
   17   Arizona Beverages USA LLC, 287 F.R.D. 523, 527 (N.D. Cal. 2012)); Lilly v. Jamba
   18   Juice Co., No. 13-cv-02998-JT, 2015 WL 1248027, at *4 (N.D. Cal. Mar. 18, 2015).
   19   Here, Plaintiff sufficiently demonstrates that he is “realistically threatened by a
   20   repetition of the violation.” Gest v. Bradbury, 443 F.3d 1177, 1181 (9th Cir. 2006). As
   21   with the plaintiff in Davidson, Plaintiff continues to shop at the stores where he
   22   purchased the Product and would still purchase the Product if he was able to determine
   23   that the representations made by the packaging were an accurate reflection of the
   24   product inside. Complaint ¶ 19.
   25
              C. Plaintiff Has Standing to Challenge Representations on Web Site
   26         Although Plaintiff alleges that he relied on misrepresentation made in the outer
   27 packaging viewed in-store, he still has standing to bring this case on behalf of a

   28 purported class that includes consumers who relied on the same representations made

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    1   on the company’s web site. Complaint ¶ 7. The misrepresentation at issue is the “0 mg
    2   sodium” claim on the outer packaging of the product. Id. ¶¶ 2, 7. Whether a consumer
    3   saw the packaging in-store or a picture of that packaging on the web site, the
    4   misrepresentation is the same. Furthermore, Alberstons does not sell the product
    5   directly through the web site. Sales made through the website go through individual
    6 stores, so the misrepresentations made there induce consumers to buy the product in-

    7   store, the same as Mr. Lewis did. All purchases result in in-store sales, and all
    8   purchases rely on the same outer-packaging misrepresentation.
    9         Defendant cites case law in which plaintiffs alleged reliance on
   10 misrepresentations made on a website that were not viewed by plaintiffs before making

   11 a purchase. For example, in McVicar v. Goodman Glob., Inc., 1 F. Supp. 3d 1044, 1052

   12 (C.D. Cal. 2014), the plaintiff did not view the advertisement alleged to be fraudulent.

   13   (citing also Daniel v. Ford Motor Co., No. CIV 11–02890, 2013 WL 2474934, at *4–
   14   5, 2013 U.S. Dist. LEXIS 80638, *12–13 (E.D.Cal. June 7, 2013), in which “[A]
   15   plaintiff's claim must fail when he never viewed a website, advertisement, or other
   16   material that could plausibly contain the allegedly omitted fact.”) Defendant also cites
   17   Reed v. NBTY, Inc., No. EDCV 13-0142 JGB (OPx), 2014 WL 12284044, at *7 (C.D.
   18   Cal. Nov. 18, 2014), in which the court held, “It is undisputed that neither [plaintiff]
   19   viewed the labels of [the Products] or visited Defendants’ websites prior to purchasing
   20   the Products. Accordingly, the named plaintiffs do not have standing to pursue claims
   21   on the basis of representations made on the labels or on Defendants’ websites.”
   22         Here, Plaintiff not only viewed the advertising material that misrepresented
   23   sodium content; the entire purported class, including those who first saw a picture of
   24   the outer packaging on the national website, relied on the exact same misrepresentation
   25   made and went ahead to purchase the product through the stores, whether in-person or
   26   via pick-up or delivery. Complaint ¶¶ 2,7. The cases cited by Defendant have no
   27   relevance on the situation alleged in the Complaint. Whether in-store or on the website,
   28   the misrepresentation is exactly the same (“0 mg”) and made in exactly the same

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    1   fashion (labeling on the outer packaging of a 12-pack). This is analogous to cases in
    2   which a plaintiff alleges causes of action on behalf of a class that relies on the same
    3   advertising material over a variety of products. See Anderson v. Jamba Juice Co., 888
    4   F.Supp.2d 1000, 1001 (N.D. Cal. 2012) (finding that although the plaintiff purchased
    5   only two of the many flavors of smoothie kits, the plaintiff had standing to bring claims
    6   on behalf of purchasers of the other flavors because “the same alleged
    7   misrepresentation was on all of the smoothie kit[s] regardless of flavor; all smoothie
    8   kits [were] labeled ‘All Natural,’ and all smoothie kits contain[ed] allegedly non-
    9   natural ingredients.”); Astiana v. Dreyer's Grand Ice Cream, Inc., 2012 WL 2990766,
   10   at *13 (N.D. Cal. July 20, 2012) (concluding that the plaintiffs had standing to sue
   11 based on flavors of ice cream they did not purchase because many of the contested

   12 ingredients were the same across all of the ice creams at issue and their labels were

   13 nearly identical). As with those cases, the issue here is whether the entire class relied

   14 on the same misrepresentation.

   15         Thus, Plaintiff has standing to bring this case on behalf of all consumers who
   16 relied on the misrepresentation on the product’s outer packaging, whether the

   17 consumers saw the packaging on the store shelves or saw a picture of it on the website.

   18 In both cases, the misrepresentation itself and the reliance on said misrepresentation

   19 are identical.

   20         D. Plaintiff’s Sufficiently Alleges Claim for Fraud and Deceit
   21         The Ninth Circuit has interpreted Rule 9(b) to require that “allegations of fraud
   22   are specific enough to give defendants notice of the particular misconduct which is
   23   alleged to constitute the fraud charged so that they can defend against the charge and
   24   not just deny that they have done anything wrong.” Semegen v. Weidner, 780 F.2d 727,
   25   731 (9th Cir. 1985). In evaluating the allegations, the Court must give the plaintiff the
   26   benefit of every inference that reasonably may be drawn from well-pleaded facts. Tyler
   27   v. Cisneros, 136 F.3d 603, 607 (9th Cir. 1998).
   28         Defendant insists that Plaintiff cannot allege fraud because he instead already

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    1   alleged a “mistake.” Once again, there was no such allegation in the Complaint. The
    2   word “mistake” was put in quotes for a reason: because this was the unconfirmed
    3   explanation given by Defendant, not because Plaintiff accepts this explanation as true.
    4   Instead, the Complaint alleges that the misrepresentation, which led to the false display
    5   of sodium content, enticing purchases by consumers who would potentially be at risk
    6   for high blood pressure and other conditions caused by excessive sodium intake, must
    7 have been the result of either intentional conduct or conscious disregard. Complaint,

    8 ¶ 3. One of the country’s largest grocery chain likely has multiple checkpoints along

    9 their supply chain, from designing marketing material to packaging products to

   10 shipping nationwide to stocking in their thousands of retail outlets, not to mention the

   11 web designers, management, and legal staff who must view images of the packaging

   12 before they reach consumers. An error made in violation of the FDCA and continuing

   13 without notice for nearly a year, until a consumer mails a CLRA letter on behalf of

   14 himself and other consumers, is not likely to be the result of a mere mistake.

   15         On their face, these allegations are sufficient to give Defendants ample notice
   16 of the particular circumstances of Plaintiffs’ claims against them, and therefore satisfy

   17 Rule 9(b)’s burden. See Chacanaca v. Quaker Oats Co., 752 F.Supp.2d 1111, 1126

   18 (N.D. Cal. 2010) (“[P]laintiffs have identified the particular statements they allege are

   19 misleading, the basis for that contention, where those statements appear . . . , and the

   20 relevant time period in which the statements were used. As such, they have satisfied

   21 the requisite who, what, when, where, and how of the misconduct charged”).

   22 Nevertheless, Defendants ask the Court to impose a more demanding standard than

   23 the law allows. The Court should reject that invitation and deny the Motion.

   24         The reason that Plaintiff puts “mistake” in quotes is because he does not believe
   25 this was a simple mistake, and the allegations made in the Complaint reflect this

   26 contention. Defendant notes that the impossibility of “club soda” having no sodium

   27 somehow puts the burden on the consumer to possess this specialized knowledge. The

   28 average reasonable consumer does not know the etymology of the word “soda” or that

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    1   the product necessarily contains sodium. The average reasonable consumer only
    2   knows what is represented on the packaging and can weigh a claim of “0 mg sodium”
    3   against claims made by competing club soda products. Instead, it is the job of
    4   Albertsons, one of the country’s largest grocery chains, to know that it cannot claim
    5   club soda contains “0 mg sodium.” An allegation of fraud is plausible in the case of a
    6   large grocery chain, which presumably employs in-house counsel and a variety of
    7   managers ratifying packaging design and the introduction of products into the stream
    8   of commerce. The fact that not a single Albertsons employee pointed out this flagrantly
    9   deceptive and false claim at any point, relying instead on the notice of a single
   10   consumer nearly a year after the practice began, is far more implausible then the
   11   company knowing about or consciously disregarding evidence of this practice.
   12         Furthermore, the fact that the fine print on the can itself, which cannot be viewed
   13 without purchasing the product first and opening the mislabeled outer packaging, says

   14 “40 mg” of sodium and lists sodium citrate in its ingredients, does not mean a

   15 reasonable consumer would not have relied on the outer packaging. See Williams v.

   16 Gerber Prod. Co., 552 F.3d 934, 939 (9th Cir. 2008) (“We disagree with the district

   17 court that reasonable consumers should be expected to look beyond misleading

   18 representations on the front of the box to discover the truth from the ingredient list in

   19 small print on the side of the box.”)

   20         Much of Defendant’s argument that the fraud claim should be dismissed stems
   21 from this claim that Plaintiff has alleged a “mistake.” Clearly, the Complaint’s use of

   22 the word mistake was in quotes, reflecting Albertsons excuse, not the allegations that

   23 Plaintiff have actually put into the Complaint.

   24         E. Plaintiff Sufficiently Pleads Punitive Damages Remedy
   25         Plaintiff has alleged facts establishing entitlement to punitive damages
   26   throughout the Complaint. Defendant insists that there was no intent to deceive, but
   27   that has no bearing on the sufficiency of the pleadings, which adequately allege
   28   conduct that was fraudulent rather than the result of a simple “misprinting.” Plaintiff

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    1   has alleged that Defendant knew or should have known about the error at some point
    2 prior to the initial printing, or even at the very least during the year in which the error

    3   continued to appear on packaging labels.
    4         The CLRA authorizes any consumer “who suffers any damage” because of a
    5   unlawful method, act or practice to bring an action for various forms of relief,
    6   including (1) actual damages, (2) an order enjoining the methods, acts, or practices,
    7   (3) restitution of property, (4) punitive damages, and (5) any other relief the court
    8   deems proper. Civ. Code, § 1780, subd. (a). Punitive damages are available where a
    9   plaintiff proves “by clear and convincing evidence that the defendant has been guilty
   10   of oppression, fraud, or malice.” Civ. Code, § 3294, subd. (a). In the case of a corporate
   11   defendant, punitive damages may be awarded when “the advance knowledge and
   12   conscious disregard, authorization, ratification or act of oppression, fraud, or malice
   13   [was] on the part of an officer, director, or managing agent of the corporation.” Civ.
   14 Code, § 3294, subd. (b).

   15         At this stage in the litigation, Plaintiff does not know the identity of officers,
   16 directors, or managing agents who would be in the position to approve labeling that

   17 goes into the stream of commerce. However, the Complaint plausibly alleges that

   18 individuals from the company played a role in, at best, consciously disregarding this

   19 error for nearly a year. A purported “mistake,” left uncorrected, despite the fact that

   20 the mistake should have been known to any number of officers, directors, or managing

   21 agents at any point from design of the label to filling the packaging at the distribution

   22 plants to putting out for sale in the actual grocery stores. This “mistake” led to the false

   23 display of sodium content, enticing purchases by consumers who would potentially be

   24 at risk for high blood pressure and other conditions caused by excessive sodium intake.

   25 In this best-case scenario for Albertsons, the company has already admitted to a

   26 “mistake” that rises to the level of “conscious disregard” for the health and safety of

   27 its customers, a clear violation of the FDCA allowed to continue until a consumer, the

   28 Plaintiff himself, purportedly put a stop to it after a year. The Complaint alleges this

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    1   factual basis for seeking punitive damages, even if at this early stage in the litigation
    2   the identity of the individuals involved in this process are not known.
    3           F. Leave to Amend
    4           If the Court determines that the complaint should be dismissed, it must then
    5   decide whether to grant leave to amend. Under Rule 15(a) of the Federal Rules of Civil
    6   Procedure, leave to amend “should be freely granted when justice so requires,” bearing
    7   in mind that “the underlying purpose of Rule 15...[is] to facilitate decision on the
    8   merits, rather than on the pleadings or technicalities.” Lopez v. Smith, 203 F.3d 1122,
    9   1127 (9th Cir. 2000) (en banc) (internal quotation marks omitted).
   10      V.      CONCLUSION
   11           Plaintiffs respectfully request that the Court deny Defendant’s Motion in its
   12   entirety. To the extent that the Court finds that any of Plaintiffs’ allegations are
   13   defective, Plaintiffs respectfully request leave to amend under Fed. R. Civ. P. 15.
   14

   15                                           Respectfully Submitted,
   16   DATED: July 14, 2022                    MARLIN & SALTZMAN, LLP
   17
                                                By: s/ Joel M. Gordon
   18
                                                     Stanley D. Saltzman
   19                                                Joel M. Gordon
   20                                           Counsel for Plaintiff and the Putative Class
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